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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         :
                                                 :
v.                                               :   Criminal No. RDB-14-0186
                                                 :   Civil No. RDB-19-2312
RICHARD C. BYRD,                                 :
  Defendant.                                     :


                                       MOTION TO SEAL

       Richard C. Byrd, by and through undersigned counsel, hereby respectfully moves this

Court for leave to file under seal Mr. Byrd’s Motion Requesting a Judicial Recommendation

Concerning Return of Defendant to his Prior Correctional Facility and its attached exhibit. Sealing

the Motion and exhibit is warranted for the reasons set forth in the underlying Motion.

       WHEREFORE, Mr. Byrd requests that the Court grant this Motion and place the Motion

Requesting a Judicial Recommendation Concerning Return of Defendant to his Prior Correctional

Facility and its attached exhibit under seal.



                                                     Respectfully submitted,
                                                     GREENBERG TRAURIG, LLP
                                                     /s/ Michael R. Sklaire
                                                     Michael R. Sklaire
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion was served this 4th day of October,

2021, via CM/ECF on all parties.


                                                    /s/ Michael R. Sklaire
                                                    Michael R. Sklaire

                                                    Attorney for Richard C. Byrd
